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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
United States of America

v.
Case No.: 21-CR-00028-APM

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Thomas Edward Caldwell, et. al.
Defendants

MEMORANDUM IN SUPPORT OF MOTION FOR REVIEW OF DETENTION ORDER
PURSUANT TO 18 U.S.C. §3145(b) AND MOTION FOR RELEASE

 

Comes now Thomas Edward Caldwell (“Caldwell”), by counsel, and moves
this Honorable Court for Review of the Magistrate’s Detention Order pursuant to 18
U.S.C. §3145(b) and Motion for Release. In support of said motion, Caldwell states
as follows.

FACTS

1. Thomas Edward Caldwell is a 66 year oid citizen of the United States
and the Commonwealth of Virginia who resides in Berryville, Virginia in Clarke
County, Virginia. He is married and has a farm where he and his wife raise stock
animals among other pursuits. He has no criminal history, having never been
previously arrested, investigated, or charged.

2. Caldwell is a retired Lieutenant Commander from the United States
Navy and is classified as a 100% disabled veteran by the Department of Veterans
Affairs. In his Navy service, he was awarded 3 Navy Achievement Medals, 1

Meritorious Service Award, and 3 Navy Commendation Medals; he was nominated
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for the Bronze Star; and he was awarded the Humanitarian Service Award as a
personal Award. He has held a Top Secret Security Clearance since 1979 and has
undergone multiple Special Background Investigations in support of his
clearances. After retiring from the Navy, he worked as a section chief for the
Federal Bureau of Investigation from 2009-2010 as a GS-12. He also formed and
operated a consulting firm performing work, often classified, for U.S. government
customers including the U.S. Drug Enforcement Agency, the Department of
Housing and Urban Development, the U.S. Coast Guard, and the U.S. Army
Personnel Command.

3.  Caldweil’s 100% service-connected veteran disability results from
complications associated with service-connected injury. He has been diagnosed
with disability to his right shoulder, degenerative lumbar disc disease with bilateral
sciatic involvement, chronic right knee strain post meniscal repair, and
degenerative joint disease of the left shoulder post modified Bristow repair. In
2010, he had a spinal fusion of the L4, L5, and S1 vertebrae, which has
subsequently failed. Moving, sitting for extended periods of time, lifting, carrying,
and other physical activities are extremely painful and Caldwell is limited in his
ability to engage in them. As a result of his failed spinal fusion surgery, Caldwell
has been diagnosed with post-traumatic stress disorder (PTSD) which is often

exacerbated by exposure to fluorescent lighting. Caldwell also has a medical
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history of sleep apnea, a heart condition to include chest pains, and a degenerative
left ankle. He currently is under the treatment of Dr. Thomas Larkin at the Pain
Management Institute in Bethesda, MD. and has been from September 14, 2016.
Due to excruciating pain and continued deterioration of his spine, Caldwell
underwent a discectomy on August 4, 2020 to alleviate the symptom of being
unable to lift his right leg. This surgery was performed by Dr. John Caruso of the
WVU Medicine Brain and Spine in Martinsburg, WV. His spinal deterioration is
continuing and he is under treatment with Dr. Caruso for increased deterioration of
the vertebrae in his neck which causes him to regularly suffer numbness, tingling,
and shooting pain down his arms, To assist in dealing with his regular and
constant pain, Caldwell has consulted with the Blue Ridge Counseling Center. He
is also under the care of Dr. Jeffrey Lessar of Winchester, Va., a board certified
pulmonologist who monitors his sleep issues and approves his CPAP treatment and
monitors and approves sleep medication. Currently he is prescribed, but has not
been receiving, oxy-morphone for his spine pain, Lunesta for sleep issues, a CPAP
machine, Gabepentin, DHEA, and hydrocortisone.

4. Caldwell was arrested on January 19, 2009 at his house in Berryville,
Virginia and has since been detained in the Central Virginia Regional
Correctional Facility in Orange, Virginia. Because most of the allegations of the

warrant allege activity in Washington, DC, he appeared that day before Magistrate
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Joel C, Hoppe in Harrisonburg, Virginia for a Rule 5 determination. The United States
was represented by AUSA Christopher Kavanaugh.

5. At that hearing, Caldwell was informed that the Government at that time
asserted he is a member of a group called the Oathkeepers, which he has denied. It is
reasonably believed the Government, by this time, has confirmed that he not a
member of this group. Additionally, Caldwell was informed that the Government at
that time asserts he “forced entry” into the United States Capitol. Caldwell denied this
assertion and proffers that he was at all times with individuals who will testify that he
never entered the U.S. Capitol Building and that his physical limitations would have
prevented him from forcibly entering any building or storming past any barrier.

6. Caldwell was also informed that the Government asserts that he
destroyed property, disrupted an official proceeding, and entered a restricted area, and
that he conspired with others to perform these acts. Caldwell has denied each of these
allegations.

7. It is noteworthy that despite reports of over 100,000 photo and video
recordings of the incidents on January 6, 2021, the Government has not identified any
photo or video that shows Caldwell in the U.S. Capitol Building, on the grounds after
overcoming any barrier or other evidence of restriction, in the vicinity of any damaged
property, or in any chamber of Congress. Further the Government has not identified

any time, place, or specific content of any alleged agreement that Caldwell allegedly
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participated in that would meet the definition of a conspiracy.

8. Magistrate Hoppe also informed Caldwell of his right to a preliminary
hearing and his right to have one after he was transferred to the District of Columbia.
Upon being informed of this, Caldwell, without counsel, expressed his desire to have
his preliminary hearing in DC. Unfortunately, the Government has not transferred
him to DC and has indicted him on January 27, 2021, thereby eliminating his right to
a preliminary hearing.

9. |AUSA Kavanaugh, despite having no evidence that Caldwell
participated in the destruction of any property, and despite the Amended Criminal
Complaint drafted and sworn by FBI Special Agent Michael Palian not mentioning
any evidence that placed Caldwell in the Capitol Building or destroying or damaging
any property (the Amended Complaint does assert that the others charged in the
indictment, Jessica Watkins and Donovan Crowl, were in the Capitol Building but
does not specifically identify any destruction of property) asserted that the
Government was seeking Caldwell be detained pursuant to 18 USC 3142(£)(1)(A) to
the extent is encompassed 18 USC §1361. Transcript p. 16. Kavanaugh clarified that
this was the basis for seeking the detention of Caldwell. Jd.

10. Recognizing the complete lack of evidence to credibly make this
argument to the Court, Kavanaugh then asserted that the Government, as a

“fallback position” would seek detention under 18 USC §3142(£)(2)(B).
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Kavanaugh did not identify any specific fact that supported any obstruction of
justice, nor was one ever established in any Criminal Complaint. At best
Kavanaugh had a “concern” about future activity with no factual basis identified.

11, Kavanaugh then misrepresented Caldwell’s criminal history, claiming
that he has a “minimal criminal history” that included being a “fugitive” on several
traffic matters. Kavanaugh knew, or should have known, that Caldwell has ZERO
criminal history and there does not exist any fugitive traffic matters. It is not lost on
Caldwell that traffic matters are not criminal in nature and even if there was a history
of unpaid tickets (there are none) these would be civil, not criminal, issues.

12. Finally, Kavanaugh, without any known or verifiable facts, asserted that
Caldwell “maintains a leadership position with the Oath Keepers” when no such
evidence exists as Caldwell is not a member of the organization, nor has he ever been
a member of the organization, and if he were, such membership would be protected
activity under the First Amendment.

ARGUMENT

13. From the passage of the Judiciary Act of 1789, 1 Stat. 73, 91, to the
present Federal Rules of Criminal Procedure, Rule 46 (a)(1), federal law has
unequivocally provided that a person arrested for a non-capital offense shall be
admitted to bail. This traditional right to freedom unless, and until, a conviction

permits the unhampered preparation of a defense, and serves to prevent the
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infliction of punishment prior to conviction. See Hudson v. Parker, 156 U.S. 277,
285 (1895). Unless this right to bail before trial is preserved, the presumption of
innocence, secured only after centuries of struggle, would lose its meaning. Stack
v. Boyle, 342 U.S. 1, 4 (1951).

14. The practice of admission to bail, as it has evolved in Anglo-
American law, is not a device for keeping Caldwell in jail upon mere accusation
until it is found convenient to give him a trial. On the contrary, the spirit of the
procedure is to enable him to stay out of jail unless, and until, a trial has found him
guilty. Without this conditional privilege, Caldwell, and those like him who are
also wrongly accused, are punished by a period of imprisonment while awaiting
trial and are handicapped in consulting counsel, searching for evidence and
witnesses, and preparing a defense. Jd. at 7-8 (J. Jackson concurring).

15. To open a way of escape from this handicap and possible injustice,
Congress commands allowance of bail for one under charge of virtually any
offense not punishable by death. Federal Rule of Criminal Procedure 46(a)(1)
expressly states that pre-trial release is to be governed by the standards set forth in
the provisions of 18 U.S.C. §§3142 and 3144.

16. 18U.S.C. §3142 requires the admission to bail except under
extremely tailored exceptions, which as set forth below, are not applicable in this

case. Id. Absent the Government establishing the requirements of 18 U.S.C.
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§3142(e), Caldwell must be released.

17. Asset forth in 18 U.S.C. §3142(e), Caldwell’s right to pre-trial release
is balanced against two risks, the failure to appear for trial, and further danger to
himself or the community.

a. There is no risk of flight

 

18. Caldwell acknowledges that the right to release before trial is
conditioned upon the accused's giving adequate assurance that he will stand trial
and submit to sentence if found guilty. Ex parte Milburn, 9 Pet. 704, 710 (1835).
Caldwell has provided these assurances and will continue to do so.

19. Despite there being little, to no risk of flight, the Supreme Court has
acknowledged that admission to bail always involves a risk that the accused will
take flight. However, as explained by Justice Jackson, the risk of flight “is a
calculated risk which the law takes as the price of our system of justice. We know
that Congress anticipated that bail would enable some escapes, because it provided
a procedure for dealing with them. Fed. Rules Crim. Proc., 46 (f).” Stack v. Boyle,
supra, at 8 (J. Jackson concurring)

20. Indeed, it is the merely the duty of the judge to reduce the risk by
conditions of bail, if necessary. 18 U.S.C. §1342(c)(1)(B)(xiv). The imposition of
conditions, if applicable, is limited to the least restrictive conditions necessary to

assure appearance. 18 U.S.C. §1342(c)(1)(B) The consequence of excessive
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restriction is a violation of the Eighth Amendment to the Constitution, which says:
"Excessive bail shall not be required... ."

b. Caldwell poses no danger to himself or the Community

21. There is no allegation that Caldwell is, or has ever been a danger to
himself. His extensive medical history and identified limitations demonstrate that
he is proactive in seeking treatment for ailments. Caldwell is unaware of any
evidence to suggest he poses a risk to himself and is prepared to defend against any
such accusation by the Government.

22. There is also no danger to the Community. Outside of his time as a
decorated U.S. military officer, Caldweil is a life-long resident of Clarke County,
Virginia where he is a property owner. He has no criminal record or any history of
violence or breaking the law. In fact, just the opposite; he has been decorated for
service in which he has placed himself in harm’s way to protect others and the
interests of the United States.

23. Further, there is no credible allegation in the indictment that Caldwell
has ever engaged in any violent behavior. Caldwell recognizes that the
Government has the ability to craft indictments in an effort to give the appearance
of wrongdoing and to forum shop. However, given the existence of 100,000
photos and video images from the U.S. Capitol on January 6, 2021,

(https://www.cnet.com/news/fbi-posts-fresh-photos-of-capitol-hill-suspects/ “In a
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joint press conference with the Department of Justice on Tuesday, FBI Washington
Field Director Steven D'Antuono said the bureau has received leads including more
than 100,000 pieces of digital media”), the Government has not identified one
which shows Caldwell in the Capitol Building or taking any action to obstruct an
official proceeding, destroy government property, or being in a restricted building
or grounds after overcoming barriers, as alleged in the indictment. It has not
produced any evidence demonstrating Caldwell took any of the action as describe
in paragraph 19 of the indictment, to include no evidence of Caldwell coordinating
any specific operation, using a walkie talkie app or creating a channel on it,
travelling into Virginia with anyone other than his wife, wearing or bringing or
contributing any paramilitary gear, forcibly storming past any barricades, entering
the Capitol Building, or concealing non-existent evidence after the fact.

24. The Government has failed to produce any such evidence because
none exists. It is believed that at this time, the Government has obtained
confirmation that Caldwell was not in the Capitol Building. Disturbingly, it is also
believed that the Government possessed this information at the time it sought the
indictment and proceeded despite knowing that Caldwell was never in the Capitol
Building.

25. The importance of this lack of evidence is underscored in that the

Government opposed Caldwell’s release at the Rule 5 hearing based on the charge

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the Caldwell had destroyed Government Property in violation of 18 USC §1361, as
will be discussed in greater detail below. Caldwell asserts that this charge was
brought against him merely as a vehicle to assist in denying his release for
vindictive purposes as the Government has never possessed any identifiable
information that places Caldwell in the Capitol Building, let alone destroying any
property.

26. Further, while not attempting to try the matter at a bail hearing, the
Government’s mention of an alleged Facebook posting stating the word “inside”
provides no basis to suggest Caldwell actually posted the message, or was engaged
in doing anything other than merely relaying news that was circulating through the
crowd that some people were inside. While the Government’s conclusions show a
very active collective imagination, the Government does not provide any evidence
to suggest that Caldwell was previously a risk to the Community, or that he will be
one should he be released on bail.

27. The Government is also aware that its premature reliance on alleged
photos and electronic messages on social media have not been vetted for accuracy
and they cannot show clear chains of evidence. Candor to the Court suggests that
the Government acknowledge the limitations of their evidence against Caldwell, at
least to the extent that there is no evidence that suggests that he is a danger to

himself or to the community at large.

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c. Bail should be granted in accordance with 18 U.S.C. §3142(b)

28. 180U.S.C. §3142(b) states:

The judicial officer shall order the pretrial release of the person on

personal recognizance, or upon execution of an unsecured appearance

bond in an amount specified by the court, subject to the condition that the

person not commit a Federal, State, or local crime during the period of

release and subject to the condition that the person cooperate in the

collection of a DNA sample from the person if the collection of such a

sample is authorized pursuant to section 3 of the DNA Analysis Backlog

Elimination Act of 2000 (42 U.S.C. 14135a),[1] unless the judicial officer

determines that such release will not reasonably assure the appearance

of the person as required or will endanger the safety of any other person

or the community.
(emphasis added). As noted above, there is nothing in Caldwell’s history or the
charges, or any evidence provided by the Government, that suggests that Caldwell
will not appear as required or that he will endanger the safety of any other person
or the Community. He has represented his desire to clear his name at the Rule 5
hearing (Exhibit A, pg 14, In 4-7), and he has privately retained counsel.

29. In opposing bail, as in Stack v. Boyle, supra, the Government asks the
Court to depart from the norm by assuming, without the introduction of evidence,
that Caldwell “is a pawn in a conspiracy and will, in obedience to a superior, flee
the jurisdiction.” There is no basis for such an ask.

30. Further, by the express terms of the indictment, Caldwell is alleged to
have participated in a conspiracy with an objective that has already been frustrated

or is complete. According to paragraph 18 of the indictment, “[t]he purpose of the

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conspiracy was to stop, delay, and hinder Congress’s certification of the Electoral
College vote.” The Court can take judicial notice that the Electoral College vote
has occurred. The alleged conspiracy is complete. There is no allegation of a
conspiracy for future action.

31. Given that the alleged conspiracy is complete, there is no other
allegation that suggests any planned or future illegal activity. There is no basis to
support an opposition to bail as any apprehension of future action that could danger
the community has no support in fact is based wholly in unsubstantiated and
illogical conjecture. The Court should grant bail and release Caldwell on his
personal recognizance or an unsecured bond.

d. _— Bail should be granted in accordance with 18 U.S.C. §3142(c)

32. 18 U.S.C. §3142(c) states, in part:

If the judicial officer determines that the release described in subsection (b)

of this section will not reasonably assure the appearance of the person as

required or will endanger the safety of any other person or the community,
such judicial officer shall order the pretrial release of the person subject
to conditions. (emphasis added)
Again, the emphasis and focus is release of Caldwell subject to the least restrictive
conditions that permit the Court to be assured of Caldwell’s appearance and the
safety of the community.

33. When the Court evaluates conditions to ensure the appearance of

Caldwell and the safety of the community, it must do so in the context of 18 U.S.C.

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§3142(e) should the Government oppose his release. As explained below, neither
of the applicable provisions of 18 U.S.C. §3142(e) can be applied to oppose
release, and if they could, release is required as conditions could be set to assure
the appearance of Caldwell and the safety of the community.

i. There is no rebuttable presumption against bail under 18 U.S.C.
§3142(e)(2)

34. 180U.S.C. §3142(e)(2) only applies a rebuttable presumption against
release in the event of an accused with a prior conviction or an accused who
commits a subsequent criminal act while on release pending trial. Caldwell has no
prior convictions or charges, and no rebuttable presumption is applicable under this
statute.

ii. § There is no rebuttable presumption against bail under 18 U.S.C.
§3142(e)(3)

35. 180U.S.C. §3142(e)(3) applies a rebuttable presumption in the event
an accused is charged with certain crimes as set forth in subsections A through E.
Caldwell is not charged with any of these crimes. Subsection C identifies an
offense listed in section 2332b(g)(5)(B) of Title 18, United States Code, for which
a maximum term of imprisonment of 10 years or more is prescribed. Although
Caldwell is charged with a violation of 18 U.S.C. §1361 and that statute is listed in
§2332b(g)(5)(B), Caldwell asserts the allegation is insufficient to raise a rebuttable

presumption.

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36. First, upon evidence at any hearing for review of his detention, the
Government will be unable to show that Caldwell was in the Capitol Building or
that he damaged any property. Second, the indictment states that Caldwell entered
the Capitol with “Crowl and Watkins, together and with others...” The
Government will be unable to provide any evidence to support this naked and false
accusation. Third, the Government will be unable to provide any evidence that
Caldwell participated in any activity in the Capitol Building or that Caldwell
caused any damage “to the building in an amount more than $1,000.”

37. Rule 7(c)(1) requires that the indictment be a plain, concise, and
definite written statement of the essential facts constituting the offense charged.
With regard to Count Three, no facts are charged and the indictment only states the
bare legal conclusion that there was damage to the building that purportedly
amounts to more than $1,000. There is no identification of any specific property
allegedly damaged by Caldwell nor any allegation of the extent of such damage.

38. Caldwell does not quibble over technicalities. 18 U.S.C. §1361
provides different punishments based upon the amount of damage, only one of
which may give rise to a rebuttable presumption under 18 U.S.C. §3142(e)(3)(C).
Absent some evidentiary showing with respect to Caldwell’s participation in the
destruction of evidence and the value of that destruction, the Court cannot apply

the rebuttable presumption of 18 U.S.C. §3142(e)(3). Again, as noted in Stack v.

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Boyle, supra, since the function of bail is limited, the fixing of bail for any
individual defendant must be based upon standards relevant to the purpose of bail.
39. Congress, in passing 18 U.S.C. §3142(e)(3), clearly desired to only
make certain acts of property destruction subject to a rebuttable presumption. In
order for the presumption to apply, the Government must establish the factual
prerequisite for its application. If the Government is asking the Court to apply the
presumption based solely on the indictment, the request must denied as the
Government is asking the Courts to depart from the norm by assuming, without the
introduction of evidence, that Caldwell entered the Capito! and destroyed property
valued in excess of $1,000. To infer from an indictment alone a need for a
rebuttable presumption is an arbitrary act. See Stack v. Boyle, 342 U.S. at 5-6.

iii. Should the Court find it necessary to impose conditions of bond,
the Court may do so without hearing

40. Ifthe Court determines that, in granting bail, it should impose
conditions as authorized in 18 U.S.C. §3142(c), it may do so without hearing as
the requirement of a hearing established in 18 U.S.C. §3142(f) is not triggered.

A, There is no charge of an offense identified in 18 U.S.C. §3142(f)(1)

41, No hearing is required because the Government has not charged an

offense listed in 18 U.S.C. §3142(f)(1). At the Rule 5 hearing, the Government
asserted that 18 U.S.C. §3142(f)(1) is applicable to Caldwell’s release as it asserts

that Caldwell is charged both with a crime identified in 18 U.S.C. §2332b(g)(5)(B)
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because that statute lists violations of 18 U.S.C. 1361 for which a penalty of 10
years or more may be imposed, and a crime of violence. With regard to whether
the indictment properly sets forth an applicable charge under 18 U.S.C.
§2332b(g)(5)(B), Caldwell adopts and reasserts the arguments set forth above with
respect to the application of a rebuttable presumption under 18 U.S.C. §3142(e)(3).

42. Additionally, Caldwell is not charged with a “crime of violence” as
that term of art is understood in U.S. law and is applied in 18 U.S.C. §3142(f)(1).
First, under standard statutory interpretation principles, all offenses listed under 18
U.S.C. §2332b(¢)(5)(B) are distinct from “crimes of violence” because “crimes of
violence” and 18 U.S.C. §2332b(g)(5)(B) are separately set forth in 18 U.S.C.
§3142(f)(1)(a). Because of this, they must be treated as distinct; otherwise the
statute is redundant and the listing of 18 U.S.C. §2332b(g)(5)(B) is surplusage.
However, words in a statue are presumed not to be surplusage. Marx v. Gen.
Revenue Corp., 568 U.S. 371, 385 (2013)

43. Additionally, the Bail Reform Act defines "crime of violence" as
follows:

(A) an offense that has an element of the offense the use, attempted use, or
threatened use of physical force against the person or property of another;

(B) any other offense that is a felony and that, by its nature, involves a
substantial risk that physical force against the person or property of another
may be used in the course of committing the offense; or

(C) any felony under chapter 109A, 110, or 117....
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18 U.S.C. §3156(a)(4). The crimes at issue here do not fit within the definitions of
"crime of violence" set out in § 3156(a)(4).

44.  Atthe Rule 5 hearing, the Government limited its discussion of
purported crimes of violence to 18 U.S.C. §1361, which states, in part:

Whoever willfully injures or commits any depredation against any property

of the United States, or of any department or agency thereof, or any property

which has been or is being manufactured or constructed for the United

States, or any department or agency thereof, or attempts to commit any of

the foregoing offenses...

A violation of this statute does not require the use or threatened use of force. The
conditions of §3156(a)(4)(A) are not met as the use of force is not an element of
the offense of violating 18 U.S.C. §1361.

45. Further, none of the other charged counts, by their nature involve a
substantial risk of physical force against a person or property. The conditions of
§3156(a)(4)(B) are not met. By its terms, the conditions of §3156(a)(4)(C) are not
met.

B. No hearing is required under 18 U.S.C, §3142(f)(2)

46. Underl8 U.S.C. §3142(f)(2), a hearing may be held:

upon motion of the attorney for the Government or upon the judicial

officer’s own motion in a case, that involves—

(A)a serious risk that such person will flee; or

(B)a serious risk that such person will obstruct or attempt to obstruct justice,

or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate,
a prospective witness or juror.

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47. Should the Government seek a hearing, the request should be denied.
Where the government seeks pretrial detention on the ground that no condition or
combination of conditions will reasonably assure the appearance of defendant as
required, it has the burden of establishing by a preponderance of the evidence that
the defendant will flee before trial if released or, by clear and convincing evidence,
that he presents a danger to the community. United States v. Vortis, 785 F.2d 327,
328-29 (D.C. Cir.), cert. denied, 479 U.S. 841 (1986).

48. There is nothing in the indictment or criminal complaint that suggests
that Caldwell will flee. He has lived in Clarke County, Virginia his whole life
except for periods of time in which he was in the United States Navy. His ties to
the community, assertions of innocence, ownership of real property, and historical
background, to include the clearances he has held with respect to sensitive and
classified information of the United States, all negate the specious and conclusory
allegations asserted by the Government.

49. Additionally, there is no evidence presented that suggests that
Caldwell poses any risk of obstruction or threat to any witness or juror. Mere
allegations, bereft of facts, that simply set forth legal conclusions regarding
unspecified conspiracies and agreements that allegedly took place at some
unidentified place and unidentified time and involved unidentified individuals,

coupled with the lack of any evidence to place Caldwell in the Capitol Building on

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January 6, 2021, do not establish a serious risk that warrants a hearing. Release
should be granted either under 18 U.S.C. 3142(b) or (c).

50. The "clear and convincing evidence" with respect to a defendant's
danger to the community required by § 3142(f)(2)(B) means something more than
"preponderance of the evidence," and something less than "beyond a reasonable
doubt." See Addington v. Texas, 441 U.S. 418, 431 (1979). To find danger to the
community under this standard of proof requires that the evidence support such a
conclusion with a high degree of certainty. Mere speculation or statements of an
AUSA’s concern, as reflected in the Rule 5 hearing, is insufficient to meet the
standard.

iv. The Court can impose conditions that will reasonably assure
Caldwell’s appearance as required and the safety of any other
person and the community

51. In determining whether there are conditions of release which will
reasonably assure the appearance of the person as required and the safety of any
other person and the community, the Court shall take into account the available
information concerning (1) the nature and circumstances of the offense charged;
(2) the weight of the evidence against the defendant; (3) the defendant's history and
characteristics; and (4) the nature and seriousness of the danger to any person or to

the community which would be posed by the defendant's release. See 18 U.S.C. §

3142(g) (emphasis added).

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52. Proof of three of the four charges against Caldwell require, among
other things, the Government establish that Caldwell was in the Capitol Building
and he overcame barriers in order to enter. As the Government is in possession of
evidence that clearly establishes that Caldwell at no time entered the Capitol
Building, and given his physical condition that makes it impossible for him to have
forcibly taken any action, the circumstances of the offenses charged, as they relate
to Caldwell, weigh heavily in favor of release. Moreover, as they specifically
involve alleged actions at the U.S. Capitol Building, the Court could impose as a
condition of release that Caldwell not travel to the U.S. Capitol and attempt to
make entry.

53. With regard to the nature and circumstances of any alleged
conspiracy, the Court must be mindful that an indictment is neither proof, nor
evidence. The Court must also, given the strong policy in favor of release, view
the nature and circumstances of the offenses charged in the light other non-
criminal activities that can be, or are, consistent with the same fact pattern.
Assuming, without conceding that Caldwell had conversations with Crowl and/or
Watkins, the likelihood that such conversations involved non-criminal coordination
or planning to attend a legal rally protected under the First Amendment is not
negated by the known facts stated in the indictment. There is no allegation of any

recorded conversation or phone call, no specific date on which any alleged

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conspiracy was formed, no words of agreement or assent, no record of any alleged
duration or objective of a conspiracy involving Caldwell. The Government has
asserted that hundreds of citizens entered the Capitol Building but has not been
able to place Caldwell there, nor have they alleged any specific communications
that specifically identify any illegal activity or purpose.

54. The failings of the nature and circumstances of the offenses charged
with regard to Caldwell also speak to the lack of weight with regard to evidence
against him. There is no recording or statement of specific words that allegedly
were used to define or form any alleged agreement. There is no evidence of any
assent on the part of Caldwell. There is no evidence that places him in the Capitol
Building so that he could obstruct and proceeding, or cause damage to property.
There is no evidence that he “stormed” past a barricade or otherwise entered a
restricted area. The lack of evidence also favors release.

55. Caldwell’s history and characteristics also favor release. A decorated,
disabled veteran who is disabled from efforts defending the country and the
Constitution is unlikely to engage in the alleged conduct. He has been vetted and
found numerous times as a person worthy of the trust and confidence of the United
States government, as indicated by granting him Top Secret clearances. His
medical conditions also favor release as he needs to address these and they

demonstrate that Caldwell has no ability to engage in behavior that places the

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community at risk.

56. Also, there is no evidence that the community would be placed in any
danger if Caldwell is released. He is a retired 66 year old disabled veteran with
serious physical problems, Given his presumption of innocence, and the failure of
the Government to allege any factual basis for any concern over future activity (the
purpose of the alleged conspiracy has been rendered moot), there is no concern for
Caldwell’s release.

57, Nevertheless, should the Court find that 18 U.S.C. §3142(b) does not
apply, conditions exist that could be imposed that will provide assurances that
Caldwell will not flee and that the community will not be at risk. 18 U.S.C.
§3142(c) identifies fourteen conditions (i through xiv) that the Court may consider
in determining the least restrictive conditions necessary to meet the objectives of
pretrial release.

58. Caldwell asserts that most potential conditions are not applicable to
Caldwell: i (he is not a juvenile who can be placed in another’s custody), ii (he is
retired), iii (he is not in need of education), v (there is no alleged victim or
identified witness), vii (he is 66 years old and not in need of a curfew), viii (there is
no allegation of potential use of any weapon), ix (there is no allegation of any
concern of abuse of alcohol, drugs, or other controlled substance), xi (there is no

need to seek security as his property is illiquid), xii (cash or surety bond creates

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unnecessary burdens and potentially violates equal protection), xiii (no need to
return to custody).

59. Pursuant to condition iv, the Court could consider placing a restriction
on Caldwell’s travel and prohibit him from entering the Capitol Building pending
the results of trial.

60. Pursuant to condition vi, the Court could require that Caldwell report
on a regular basis to a designated pretrial services agency.

61. Pursuant to condition x, the Court could require that Caldwell
continue with his prescribed course of treatment with his various medical
providers.

62. Pursuant to condition xiv, the Court could impose other conditions but
Caldwell avers that such imposition is unnecessary and would exceed the least
amount of restrictions necessary to ensure the goals of release.

Wherefore, pursuant to 18 U.S.C. §3145(b), having been ordered detained
by a magistrate judge, Caldwell seeks revocation of the order and that he be
released upon his own recognizance or unsecured bond as authorized in 18 U.S.C.
§3142(b); or, in the alternative, that he be released pursuant to 18 US.C. §3142(c)
subject to the condition he not enter the U.S. Capitol Building, that he regularly
report to pretrial services, and that he continue all medical treatment as prescribed

by his attending physicians; and for such other relief as the Court deems just and

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proper.
Respectfully submitted by,

THOMAS EDWARD CALDWELL
By Counsel

/S/

Thomas K. Plofchan, Jr., DC Bar# VA100
Westlake Legal Group

46175 Westlake Drive, #320

Potomac Falls, VA 20165

Tel.: 703-406-7616

Fax: 703-444-9498

E-mail: tplofchan@westlakelegal.com

Counsel for Defendant Thomas Edward Caldwell

CERTIFICATE OF SERVICE
I certify that on this 8" day of February, 2021, I electronically filed the foregoing
Memorandum in Support of Motion for Review of Detention Order Pursuant to 18

U.S.C. §3145(b) and Motion for Release using the CM/ECF System, which will send

notice of such filing to the following registered CM/ECF users:

Kathryn Leigh Rakoczy at kathryn.rakoczy@usdoj.gov

/S/
Thomas K. Plofchan, Jr., Esq.

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